

Matter of de Parry (2021 NY Slip Op 00360)





Matter of de Parry


2021 NY Slip Op 00360


Decided on January 21, 2021


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: January 21, 2021

PM-03-21

[*1]In the Matter of Astrid Marie Elisabeth de Parry, an Attorney. (Attorney Registration No. 1337146.)

Calendar Date: January 19, 2021

Before: Garry, P.J., Clark, Aarons, Pritzker and Colangelo, JJ.


Astrid Marie Elisabeth de Parry, DeLand, Florida, pro se.
Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany, for Attorney Grievance Committee for the Third Judicial Department.



Per Curiam.
Astrid Marie Elisabeth de Parry was admitted to practice by this Court in 1978 and lists a business address in DeLand, Florida with the Office of Court Administration. De Parry has applied to this Court, by affidavit sworn to September 11, 2020, for leave to resign from the New York bar for nondisciplinary reasons (see Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [a]). The Attorney Grievance Committee for the Third Judicial Department (hereinafter AGC) opposes the application, contending that de Parry is ineligible for nondisciplinary resignation because she has failed to fulfill her attorney registration requirements for the most recent biennial period beginning in 2020 (see Judiciary Law § 468-a; Matter of Lee, 148 AD3d 1350 [2017]; Matter of Bomba, 146 AD3d 1226, 1226-1227 [2017]; Rules of the Chief Admin of Cts [22 NYCRR] § 118.1).
In reply to AGC's opposition, however, de Parry has submitted a supplemental affidavit, sworn to December 17, 2020, in which she attests that she is now current in her New York attorney registration requirements. Furthermore, Office of Court Administration records likewise establish that de Parry has duly registered and cured any preexisting registration delinquency. Accordingly, with AGC voicing no other substantive objection to her application, and having determined that de Parry is now eligible to resign for nondisciplinary reasons (compare Matter of Tierney, 148 AD3d 1457, 1458 [2017]; Matter of Bomba, 146 AD3d at 1227), we grant the application and accept her resignation.
Garry, P.J., Clark, Aarons, Pritzker and Colangelo, JJ., concur.
ORDERED that Astrid Marie Elisabeth de Parry's application for permission to resign is granted and her nondisciplinary resignation is accepted; and it is further
ORDERED that Astrid Marie Elisabeth de Parry's name is hereby stricken from the roll of attorneys and counselors-at-law of the State of New York, effective immediately, and until further order of this Court (see generally Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [b]); and it is further
ORDERED that Astrid Marie Elisabeth de Parry is commanded to desist and refrain from the practice of law in any form in the State of New York, either as principal or as agent, clerk or employee of another; and de Parry is hereby forbidden to appear as an attorney or counselor-at-law before any court, judge, justice, board, commission or other public authority, or to give to another an opinion as to the law or its application, or any advice in relation thereto, or to hold herself out in any way as an attorney and counselor-at-law in this State; and it is further
ORDERED that Astrid Marie Elisabeth de Parry shall, within 30 days of the date of this decision, surrender to the Office of Court Administration any Attorney Secure Pass issued to her.








